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 4                            UNITED STATES DISTRICT COURT
 5                          EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                  1:07-mj-00233
 8                        Plaintiff,
 9   vs.
                                                ORDER RE: RELEASE OF LIMITED
10   CHARLES MUHAMMAD, etal.,                   INFORMATION FROM SEALED CASE
11                        Defendants.
                                          /
12
13            GOOD CAUSE APPEARING, it is hereby ORDERED that copies of
14   the following documents be made available to the Pretrial
15   Services Office only, and that no copies of these documents be
16   made available to any party, attorney, nor any other person
17   without prior approval of this court:
18            (1)   Any and all minutes from court appearances; and,
19            (2)   Any and all release and/or detention orders regarding
20   the following named defendant only:
21                  (A)   Albert Muhammad (3)
22
              The case shall otherwise remain sealed.
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      IT IS SO ORDERED.
26
     Dated:     November 28, 2007              /s/ Sandra M. Snyder
27   icido3                             UNITED STATES MAGISTRATE JUDGE
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